Case 2:21-cv-19463-EP-JRA Document 53 Filed 09/20/22 Page 1 of 2 PageID: 1241




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 METACEL PHARMACEUTICALS                     Civil Action No.
 LLC,
                                             21-cv-19463 (EP) (JRA)
              Plaintiff,

 v.                                          ORDER

 RUBICON RESEARCH PRIVATE
 LIMITED,

              Defendant.


José R. Almonte, U.S.M.J.

      Defendant Rubicon Research Private Limited’s (“Defendant”) having filed a

motion for leave to file a motion for summary judgment (“Motion”), ECF Nos. 39, 40,

41;

      and Plaintiff Metacel Pharmaceuticals LLC (“Plaintiff”) having opposed

Defendant’s Motion, ECF No. 44;

      and Defendant having filed a reply in further support of the Motion, ECF No.

48;

      and the Court having reviewed the parties’ submissions and deciding the

application without oral argument, pursuant to Rule 78(b) of the Federal Rules of

Civil Procedure and Rule 78.1(b) of the Local Civil Rules;

      and Defendant arguing that its Abbreviated New Drug Application product

“cannot be found to infringe, directly or indirectly,” the claims of the patent at issue,

ECF No. 40 at 2, ECF No. 50 at 2;
Case 2:21-cv-19463-EP-JRA Document 53 Filed 09/20/22 Page 2 of 2 PageID: 1242




         and Plaintiff arguing in response that discovery is ongoing, that the parties

have yet to complete document discovery, and that Defendant has failed to produce

samples and raw materials necessary for Plaintiff to evaluate its claim for

infringement, ECF No. 44 at 9-10;

         and Plaintiff noting that claim construction issues exist with respect to at least

one claim term, ECF No. 44 at 10;

         and the Court finding that the Motion is premature because the parties are

still actively engaged in document discovery and because claim construction issues

exist;

         and the Court finding that, in the interest of judicial economy, summary

judgment motions, if any, should be filed after a claim construction order is issued;

         IT IS on this 20th day of September, 2022,

         ORDERED that Defendant’s motion for leave to file a summary judgment

motion (ECF No. 39) is DENIED without prejudice.




                                           HON. JOSÉ R. ALMONTE
                                           UNITED STATES MAGISTRATE JUDGE




                                             2
